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                                          UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF VIRGINIA
 MICHAEL F. URBANSKI                     210 FRANKLIN ROAD, SW. • ROOM 350                  TELEPHONE 540 857-5124
Chief United States District Judge          ROANOKE, VIRGINIA 24011-2208                     FACSIMILE 540 857-5129




                                                     June 30, 2020

         Via US Mail and Email: JEK318@gmail.com

         James E. Kolenich, Esq.
         Kolenich Law Office
         9445 Waterstone Blvd. #140
         Cincinnati, Ohio 45249

                             Re: Elizabeth Sines, et al. v. Jason Kessler, et al.
                                Civil Action No. 3:17-cv-00072-NKM (W.D. Va.)

         Dear Mr. Kolenich:

                 This is in response to your subpoenas served on Hutton Marshall and Joshua Lefebvre,
         Law Clerks for U.S. District Judge Norman K. Moon in the Western District of Virginia, to
         appear and testify at a deposition July 22, 2020, in the above-reference case. Insofar as your
         subpoenas seek or pertain to any information arising from, or related to, the performance of their
         official duties, your request is hereby denied.

                 The federal judiciary’s subpoena regulations, Testimony and Production of Records,
         govern the production or disclosure (including testimony) of official information by judiciary
         employees. See Subpoena Regulations (https://www.uscourts.gov/rules-policies/judiciary-
         policies/subpoena-regulations). In accordance with these regulations, disclosure requests are
         referred to the appropriate “determining officer,” which in this instance ordinarily would be
         Judge Moon. See id., § 840(b)(1). However, because Judge Moon is presiding in the above-
         referenced case, I am serving as the determining officer in my capacity as Chief United States
         District Judge for the Western District of Virginia, to avoid any conflict for Judge Moon.

                 A subpoena request may be denied if it fails to satisfy any requirement, procedural or
         substantive, of the regulations. See id., § 850(a). Your subpoena fails include the information
         required by section 830(a) of the regulations. Section 830(a) requires a written explanation of the
         information being requested, its relevance to the matter in connection with which it is being
         requested, and why it is not readily available from another source or by other means. In addition,
         as you may be aware, Judge Moon issued a June 18, 2020 Order regarding motions filed in this
         case to recuse Messrs. Marshall and Lefebvre. The Order states that neither of them has had had
         any involvement in this case. Moreover, the Order states that Judge Moon decided to completely
         screen them from any involvement in this case in August 2019, well before the recusal motions
         were filed. Accordingly, insofar as your subpoenas seek or pertain in any way to information
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  arising from, or related to, Messrs. Marshall and Lefebvre’s official duties, the requests have
  been denied.

         You also are advised that, consistent with this denial of your requests, if Messrs. Marshall
  and Lefebvre should appear and give deposition testimony in their private personal capacities,
  they must decline to answer any questions related to their official duties, as provided in sections
  820(a) and 850(b),(d).


                                                       Sincerely,
                                                                    Mike Urbanski
                                                                    cn=Mike Urbanski, o=US Courts,
                                                                    ou=Western District of Virginia,
                                                                    email=mikeu@vawd.uscourts.gov
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                                                       Michael F. Urbanski
                                                       Chief Judge

  Cc: Hutton Marshall
      Joshua LeFebvre
